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                                                               December 11, 2018



        VIAECF

        Honorable Cheryl L. Pollak
        United States Magistrate Judge
        United States District Court, Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

                  Re: Freeman, et al. v. HSBC Holdings pie, et al., 14-cv-6601 (DLl)(CLP)

        Dear Judge Pollak:

                Having concluded the trial to which Plaintiffs' counsel referenced during the November 7,
        2018 status conference, we respectfully write in response to Defendants' letters dated November
        30, 2018 (ECF Nos. 200, 201 ("Letter")). As explained further below, we have decided to file a
        related case rather than to amend the current Freeman complaint. Proceeding in this manner will
        ensure that all of our clients have the opportunity to bring their claims before the statute of
        limitations expires and avoid burdening the Court with expedited motion practice over the
        holidays.

               At the Court's direction, we served on Defendants' counsel a draft Third Amended
        Complaint ("TAC") with aredline of proposed changes on November 21, 2018 . See ECF No. 199
        and accompanying exhibits. Despite assuring Plaintiffs and the Court that they intend to be
        cooperative, Defendants refused to consent to the proposed addition of Plaintiffs, which refusal
        would require Plaintiffs either to move for amendment or to bring a related case. Defendants
        refused to consent on three purported grounds:

                  •   Defendants contended that "Plaintiffs have provided no satisfactory explanation
                      for their lengthy delay in seeking to add new plaintiffs and attacks (the most
                      recent of the newly-alleged attacks occurred in 2011, prior to the date the original
                      complaint was filed)." 1 Letter at 2.



                Defendants cite a single, irrelevant case, in which plaintiffs added a RICO claim for the first time in a third
        amended complaint due to counsel' s "ignorance of the statute." Sanders v. Thrall Car Mfg. Co., 582 F. Supp. 945,
        952 (S.D.N.Y. 1983), ajf'd, 730 F.2d 910 (2d Cir. 1984).
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               This simply ignores Plaintiffs' representation during the November 7, 2018 court
               conference and in our October 30, 2018 letter (ECF No. 185): we "have been retained
               by more than four hundred additional plaintiffs since the operative Second Amended
               Complaint, ECF No. 115 ('SAC'), was filed .... " ECF No. 185 at 1. And while the
               Plaintiffs were indeed all injured in attacks that occurred before we filed the first
               complaint, they did not retain Plaintiffs' counsel immediately upon being injured in
               the attacks. Many of them have only retained Plaintiffs' counsel in the last few weeks.

         •     Defendants noted that the draft TAC added 450 Plaintiffs and 81 attacks and
               have asked to add others before the statute runs. Letter at 2.

               Defendants do not explain how the number of Plaintiffs or attacks relates to
               amendment, given that all the claims are timely and will be brought against them
               regardless of the method. 2

         •     Defendants also argued that they wanted to contest, for the first time, "pleading
               deficiencies" in the attack allegations "as to which [they] would move to dismiss."
               Letter at 2.

               Consenting to the amendment would not preclude Defendants from raising "pleading
               deficiencies" in any newly added allegations. The stated objection is irrelevant to the
               question of amendment.

        In sum, Defendants have made clear that they will not consent, and that they will fight
Plaintiffs' procedural request to bring claims by amendment rather than filing a new case. That
fight could prevent some of our clients from bringing their claims before the statute of limitations
runs. 3 We cannot accept that risk for our current clients, including more than two dozen victims
who have contacted counsel after the draft TAC was served on defense counsel. That pointless
fight would also compel the Court to decide these issues on a very expedited basis over the holiday
season.

        For these reasons, we have decided that filing a related case is the most responsible choice
for our clients and the least burdensome for the Court. As a procedural matter, we will add an
express JASTA claim (unavailable when we filed the SAC more than two years ago) consistent
with the Court's finding that Plaintiffs have already pleaded facts sufficient to make out such a
claim. See Freeman v. HSBC Holdings PLC, No. 14-cv-6601 (DLI)(CLP), 2018 WL 3616845, at

2         Defendants also claim that Plaintiffs "understate[]" the scope of the additions to the TAC, implying we
omitted the number of proposed plaintiffs ("450, to be precise") or the number of the additional attacks. Letter at 2.
In reality, Plaintiffs' November 21, 2018 letter to defense counsel provided the precise number of proposed plaintiffs
in each category-including those in additional attacks-and the redlined TAC clearly shows the number of added
attacks. See Exhibits A and B to Plaintiffs' November 2 I, 2018 letter to Hon. Pollak (ECF No. 199-1, 199-2).

         Defendants dismiss this concern by arguing that filing a motion to amend would be sufficient to preserve the
proposed plaintiffs' claims after the limitations period expires on January 2, 2019. Letter at 2 n.2. While this may be
true where leave to amend is granted, it may not be where it is denied. Defendants' invitation for us to wait to move
for leave to file an amended complaint until the end of the year on the assumption that it will relate back seems
disingenuous given that they also argue that amendment is somehow improper, and Plaintiffs therefore decline it.
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*14 (E.D.N.Y. July 27, 2018). We also intend to add additional allegations regarding the Islamic
Revolutionary Guard Corps and Hezbollah-although this Court ruled that the allegations of the
SAC are sufficient to advance to discovery, we have learned additional facts since the filing of the
SAC that offer a more complete historical record. However, we do not anticipate adding or altering
any allegations regarding the Defendants or Defendants' conduct.

        We thank the Court for its consideration.

                                              Respectfully submitted,


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cc:     All counsel via ECF
